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                             UNITED STATES DISTRICT COURT
                                       FOR THE                                    2021 JAN 14 ~H I: I 0
                                 DISTRICT OF VERMONT

WENDY L. KALANGES,                               )
                                                 )
               Plaintiff,                        )     Case No.   5:2J•c\J-- 7
                                                 )
       V.                                        )
                                                 )
GO PI CHAND VALLABHANENI                         )
and COMMUNITY HEAL TH CENTERS                    )
OF BURLINGTON,                                   )
                                                 )
               Defendants.                       )


                                   NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that, pursuant to§ 224 of the Public Health Service Act of 1944

("PHSA"), 42 U.S.C. § 233, the United States, through its attorney, Christina E. Nolan, United

States Attorney for the District of Vermont, hereby removes the civil action captioned Kalanges

v. Vallabhaneni, et al., Case No. 1047-11-19-Cncv, from the Vermont Superior Court, Chittenden

Civil Division, to the United States District Court for the District of Vermont. The grounds for

such removal are as follows:

       1.      On or about August 31, 2020, Wendy L. Kalanges ("Plaintiff') caused Community

Health Centers of Burlington ("CHCB") to be served with a complaint that Plaintiff had filed

against CHCB and Gopichand Vallabhaneni, DMD (together, "Defendants"), in the Vermont

Superior Court, Chittenden Civil Division, under the caption Kalanges v. Vallabhaneni, et al.,

Case No. 1047-11-19-Cncv. See Plaintiffs Complaint and Demand for Trial by Jury, dated

February 11, 2020 ("Complaint") (Exhibit A).

       2.      Plaintiffs Complaint alleges negligence on the part of Defendants in connection

with dental care that Plaintiff received from Dr. Vallabhaneni in mid-to-late 2016. See id.
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       3.      At the time of the incidents out of which this suit arose, CHCB was deemed by the

Secretary of the United States Department of Health and Human Services to be an employee of

the Public Health Service for purposes of§ 224 of the PHSA, 42 U.S.C. § 233. See Declaration

of Meredith Torres, dated January 13, 2021 (Exhibit B), ,r 5, Ex. 1.

       4.      At the time of the incidents out of which this suit arose, Dr. Vallabhaneni was a

duly-licensed dentist employed by CHCB and, by virtue of such employment, he was deemed by

the Secretary of the United States Department of Health and Human Services to be an employee

of the Public Health Service for purposes of§ 224 of the PHSA, 42 U.S.C. § 233. See id. at ,r 6;

Declaration of Gopichand Vallabhaneni, DMD, dated November 3, 2020 (Exhibit C),             ,r,r 1-5;
Declaration of Jeffrey McKee, Psy. D., dated November 16, 2020 (Exhibit D), ,r,r 1-4.

       5.      Pursuant to§§ 224(a) and (g) of the PHSA, the remedy against the United States

provided by the Federal Tort Claims Act of1946 ("FTCA"), 28 U.S.C. §§ 1346(b), 2401(b), 2671-

2680, for damages for personal injury resulting from the performance of dental functions by an

employee of the Public Health Service acting within the scope of his or her employment, shall be

exclusive of any other civil action or proceeding by reason of the same subject-matter against

the employee whose act or omission gave rise to the claim. See 42 U.S.C. §§ 233(a), (g).

       6.      Section 224(c) of the PHSA provides that, upon certification by the Attorney

General that a defendant employee of the Public Health Service was acting within the scope of his

or her employment at the time of the incidents out of which such a suit arose, any such civil action

or proceeding commenced against the employee in a state court "shall be removed without bond

at any time before trial by the Attorney General to the district court of the United States of the

district and division embracing the place wherein it is pending and the proceeding deemed a tort




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action brought against the United States under the provisions of Title 28 and all references

thereto." 42 U.S.C. § 233(c) (emphasis added).

       7.      The Attorney General, by Christina E. Nolan, United States Attorney for the

District of Vermont, has certified, pursuant to § 224(c) of the PHSA, 42 U.S.C. § 233(c), that

Dr. Vallabhaneni was acting within the scope of his employment with CHCB at the time of the

incidents out of which this suit arose. See Certification of Christina E. Nolan, dated January 14,

2021 (Exhibit E).

       8.      A trial has yet to be held in this case.

       9.      WHEREFORE, the action captioned Kalanges v. Vallabhaneni, et al., Case No.

1047-11-19-Cncv, is hereby removed to this Court and deemed an action brought against the

United States pursuant to the FTCA.

       Dated at Burlington, in the District of Vermont, this 14th day of January, 2021.

                                                          Respectfully submitted,

                                                          CHRISTINA E. NOLAN
                                                          United States Attorney

                                                 By:~~
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